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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

  JAVON FOLSE                                             CIVIL ACTION


  VERSUS                                                  NO: 20-2680


  RHONDA LEDET, ET AL.                                    SECTION: "A" (4)


                                       ORDER

       The Court, having considered the record, the applicable law, the Report and

Recommendation of the United States Magistrate Judge, and the failure of any party to

object to the Magistrate Judge's Report and Recommendation, hereby approves the

Report and Recommendation of United States Magistrate Judge and adopts it as its

opinion in this matter.

       Accordingly;

       IT IS ORDERED that Plaintiff Javon Folse’s § 1983 claims against the Defendants

are DISMISSED WITH PREJUDICE as frivolous and/or for failure to state a claim for

which relief may be granted.

       May 25, 2021

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                                          JAY C. ZAINEY
                                   UNITED STATES DISTRICT JUDGE
